     Case 2:06-cr-00071-MHT-SMD Document 408 Filed 05/18/20 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DIS              AMA
                              NORT

UNITED STATES OF AMERICA                 1O19 MAY 1 8 P       42
v.
                                       977-
                                        .;
                                            ;i%r.1P, -C4.       -cr-00071-MHT-SMD
                                          " t-      r          LED UNDER SEAL)
                                            )
BERNETTA WILLIS                             )


 MOTION TO FILE SUPPLEMENTAL MOTION FOR COMPASSIONATE RELEASE
                          UNDER SEAL

        COMES NOW the Defendant, BERNETTA WILLIS, by and through Undersigned

Counsel, Angela D. Smith, and files this Motion to Seal. The Defendant requests her Supplemental

Motion for Compassionate Release be filed under seal due to the sensitive information contained

within the motion.

        Dated this the 18th day of May,2020.

                                            Respectfully submitted,


                                              (14 /(1, IhttAii,
                                            Angel D.Smith
                                            Assistant Federal Defender
                                            817 South Court Street
                                            Montgomery, Alabama 36104
                                            Phone:(334)834-2099
                                            Fax:(334)834-0353
                                            E-mail: angela_smith@fd.org
                                            TN Bar No. 33909
     Case 2:06-cr-00071-MHT-SMD Document 408 Filed 05/18/20 Page 2 of 2




              IN THE UNITED STATES DISTRICT COURT FOR THE
                      MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

UNITED STATES OF AMERICA

v.                                               Case No.: 2:06-cr-00071-MHT-SMD
                                                           (FILED UNDER SEAL)
BERNETTA WILLIS


                               CERTIFICATE OF SERVICE

        I hereby certify that on May 18, 2020, the foregoing has been filed with the Clerk of Court

and copies have been served upon all counsel of record.

                                             Respectfully submitte


                                             Ange D. Smith
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                                             Montgomery, Alabama 36104
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